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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

ANGLIA ADAMS,

              Plaintiff,                        Case No. 2:20-cv-4006
       v.                                       JUDGE EDMUND A. SARGUS, JR.
                                                Magistrate Judge Elizabeth Preston Deavers

COMMISSIONER OF SOCIAL SECURITY,

              Defendant.


                                           ORDER

       This matter is before the Court for consideration of a Report and Recommendation issued

by the Magistrate Judge on September 29, 2021. (ECF No. 15.) The time for filing objections has

passed, and no objections have been filed to the Report and Recommendation. Therefore, the

Court ADOPTS the Report and Recommendation. For the reasons set forth in the Report and

Recommendation, Plaintiff’s Statement of Errors is OVERRULED and the decision of the

Commissioner is AFFIRMED. The Clerk is directed to enter judgment and close this case.

       IT IS SO ORDERED.


10/18/2021                                  s/Edmund A. Sargus, Jr.
DATE                                        EDMUND A. SARGUS, JR.
                                            UNITED STATES DISTRICT JUDGE
